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                         UNITED STATES DISTRICT COURT
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                        CENTRAL DISTRICT OF CALIFORNIA
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10 UNITED STATES OF AMERICA,                  CASE NO: 2:20−cr−00060−JLS

11                  Plaintiff,
                                              ORDER RE CRIMINAL
12         v.                                 PROCEEDINGS
     STEPHEN WILLIAM BEAL
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                  Defendant(s).
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18         The above matter is set for trial before the Honorable Josephine L. Staton,
19   United States District Judge, Courtroom 10A, Ronald Reagan Federal Building and
20   United States Courthouse, 411 West Fourth Street, Santa Ana, CA 92701. Counsel
21   preparing for trial before this Court shall comply with this Order. Failure to comply
22   with this Order may subject counsel to sanctions.
23         Judge Staton’s Procedures web page is incorporated in this Order.
24         The parties and counsel are ORDERED to review and comply with the
25   Court’s applicable procedures and notices, which may be accessed at:
26               http://www.cacd.uscourts.gov/honorable-josephine-l-staton
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28   \\\

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     MOTION PRACTICE
2         1.     Conference of counsel. No fewer than three days prior to the filing
3    of any criminal motion, counsel must confer to determine whether the parties are in
4    agreement regarding the issue(s) to be presented to the Court, and to determine if

5    the scope of issue(s) to be presented to the Court can be narrowed. In the notice of
6    motion, the moving party shall report to the Court that counsel conferred regarding
7    the substance of the motion.
8         2.     Limitations on Briefing. Memoranda of points and authorities in
9    support of or in opposition to motions shall not exceed twenty-five (25) pages.
10   Replies shall not exceed twelve (12) pages. Only in rare instances and for good
11   cause shown will the Court grant an application to extend these page limitations.
12   No supplemental briefs may be filed without prior leave of court.

13        3.     Hearing Time Estimates Required. For all motions, counsel’s
14   estimate of the time required for presentation of the motion must be set forth
15   adjacent to the caption. Opposition briefs shall also set forth a time estimate.
16        4.     Hearing Date(s) for Pretrial Criminal Motions. Counsel are
17   encouraged to file their pretrial motions as early as feasible. At the latest, all

18   pretrial motions in criminal cases, including motions in limine, must be noticed

19   for hearing at the pretrial status conference, which is set by the Courtroom Deputy

20   Clerk for the Friday morning eleven (11) days in advance of trial. However, pretrial
21   motions may be heard at an earlier date. For all motions to be heard prior to the
22   pretrial status conference, counsel shall contact the Courtroom Deputy Clerk in
23   advance to clear a date and time for the hearing.
24        5.     Briefing Schedule for Pretrial Motions. The briefing schedule shall

25   be that specified in Local Rule 6, which requires that motions be filed no fewer

26   than twenty-eight (28) days in advance of the hearing, and that opposition and
27   reply briefs be filed twenty-one (21) and fourteen (14) days in advance of the
28   hearing, respectively.

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           6.      Discovery Motions. Before filing any motion for discovery, a party
2     shall consult with opposing counsel to ascertain whether the requested discovery
3     will be provided. All discovery motions shall state with particularity what is
4     requested, the basis for the request, whether the discovery has been requested from

5     opposing counsel, and whether the discovery has been declined, in whole or in part.
6     Motions made without prior consultation with opposing counsel or that fail to
7     include the above information may be stricken.
8     DISCOVERY AND NOTICE
9          7.      Duty to Produce and Disclose. Counsel for the government and
10    counsel for the defendant shall comply promptly with discovery and notice
11    pursuant to Federal Rules of Criminal Procedure 12, 12.1, 12.2, 12.3, 15 and 16.
12    Upon government counsel’s discovery of any evidence within the scope of Brady v.

13    Maryland, 373 U.S. 83 (1963), such evidence shall be produced forthwith to
14    counsel for the defendant. Counsel for the government shall also disclose to
15    counsel for the defendant the existence or non-existence of: (1) evidence obtained
16    by electronic surveillance; and (2) testimony by a government informant.
17    TRIAL

18         8.      Trial Schedule. Trials will commence on Tuesday and continue on

19    Wednesday and Thursday. If the trial is more than 3 days, it will continue Monday

20    through Thursday until completed. Trial hours are from 9:00 a.m. to 12:00 p.m.,
21    and 1:30 p.m. to 4:30 p.m., with a 15-minute break during each session. All
22    counsel shall arrive at the Courtroom at 8:30 a.m. on the first day of trial.
23         9.      Government’s Witness List, Exhibit List, and Exhibits.
24    Government counsel shall provide the Courtroom Deputy Clerk with the

25    following:

26                 a.    Five copies of the government’s witness list;
27                 b.    Five copies of the government’s exhibit list;
28                 c.    The government’s original exhibits, which may be in binders or

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     placed in individual folders;
2                d.      Two binders properly marked containing copies of all
3    reproducible exhibits, separated by divider tabs containing exhibit numbers.
4         10.     Defense Witness List and Exhibits. Defense counsel need not

5    deliver their exhibits to the Courtroom Deputy Clerk on the first day of trial;
6    however, defense counsel is responsible for affixing completed exhibit tags to the
7    original of each exhibit they intend to introduce during the trial, and for providing
8    the Courtroom Deputy Clerk with two copies of each exhibit. If defense counsel
9    intends to call witnesses other than the defendant, five copies of defendant’s
10   witness list shall be provided to the Courtroom Deputy Clerk prior to the start of
11   defendant’s case.
12        11.     Exhibit Tags. All exhibits presented to the Court by either side shall

13   have the Court’s official exhibit tags attached to the lower right-hand corner of the
14   first page of each exhibit. All exhibits longer than one page shall be internally
15   paginated in the lower right-hand corner.
16        12.     Voir Dire. At least four (4) court days prior to trial, each counsel
17   shall file and serve on opposing counsel any special questions requested to be put

18   to prospective jurors by the Court during voir dire.

19        13.     Jury Instructions and Verdict Forms. In a jury trial, no later than

20   one (1) week before trial, counsel shall submit JOINT jury instructions and a
21   JOINT proposed verdict form (if a special verdict is desired). In order to prepare
22   these joint documents, counsel shall meet and confer sufficiently in advance of the
23   required submission date with the goal of agreeing upon instructions and a verdict
24   form. The instructions should be submitted in the order in which the parties wish

25   to have the instructions read. This order should reflect a single organized sequence

26   agreed to by all of the parties.
27               The jury instructions shall be submitted as follows:
28               a.      Agreed upon JOINT jury instructions;

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                 b.     Instructions propounded by the government to which the
2    defendant(s) objects; and
3                c.     Instructions propounded by defendant(s) to which the
4    government objects.

5         Instructions upon which agreement cannot be reached should reflect the
6    basic disagreements among the parties as to the law. Counsel shall include both
7    general and substantive instructions. In addition, counsel must email all proposed
8    instructions in Microsoft Word format to the Court at the following email address:
9                        JLS_Chambers@cacd.uscourts.gov.
10        Attribution and case citation for each instruction should be placed on pages
11   following a proposed instruction. For disputed instructions, a party should note its
12   objections to a proposed instruction and its reasons for putting forth its alternative

13   on pages placed after its own alternative instruction.
14   SENTENCING PROCEEDINGS
15        14.     If a defendant is convicted, the sentencing proceedings will be
16   conducted pursuant to Federal Rule of Criminal Procedure 32 and the Local Rules.
17   If any party wishes to present material to the Court which has (a) not been

18   previously filed with the Court or presented at trial, or (b) not been previously

19   provided to the opposing party and the assigned United States Probation Officer,

20   such party must file and serve the information or evidence no later than two
21   (2) weeks before the scheduled sentencing hearing.
22        Notwithstanding the foregoing, a statement of each party’s position
23   concerning sentencing shall be filed and served no later than two (2) weeks before
24   the sentencing hearing, and the proof of service shall reflect service on the

25   assigned United States Probation Officer. Timely filing is important to enable the

26   Probation Officer sufficient time to prepare and disclose any addendum to the
27   Probation Report that may be required in response to new information and/or
28   evidence and/or a party’s sentencing position. Failure to timely file and serve such

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      information, evidence, or statement of position may result in such information not
2     being considered by the Court in imposing defendant’s sentence.
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         IT IS SO ORDERED.
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5    Dated: February 28, 2020                    JOSEPHINE L. STATON
                                                 United States District Judge
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      Revised: March 31, 2017
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